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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS
                           WICHITA DIVISION


UNITED STATES OF AMERICA    )
                            )                       6:17-CR-10142-EFM-1
    v.                      )
                            )
BOGDANA ALEXANDROVNA MOBLEY )


                              NOTICE OF APPEAL

      Ms. BOGDANA ALEXANDROVNA MOBLEY, pursuant Fed. R. App. P.

4(b)(1)(A)(1), hereby respectfully notifies this Court of her appeal from its

Amended Judgment in a Criminal Case (Jan. 8, 2021, ECF No. ) to the United

States Court of Appeals for the Tenth Circuit.

      Date:        January 12, 2021

                                             Respectfully submitted,

                                             s/ Craig M. Divine, Esq.
                                             Craig M. Divine, Esq.
                                             Kan. Bar # 24747
                                                   divinelaw@live.com

                                             Divine Law Office, LLC
                                             104 W 9th St., Ste. 404
                                             Kansas City, MO 64105
                                             T 816.474.2240
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                                              s/ Joshua Sabert Lowther, Esq.
                                              Joshua Sabert Lowther, Esq.
                                              Ga. Bar # 460398
                                              M 912.596.2935
                                              jlowther@lowtherwalker.com

                                              s/ Murdoch Walker, II, Esq.
                                              Murdoch Walker, II, Esq.
                                              Ga. Bar # 163417
                                              M 843.540.7903
                                              mwalker@lowtherwalker.com

                                              Lowther | Walker LLC
                                              101 Marietta St., NW, Ste. 3325
                                              Atlanta, GA 30303
                                              404.496.4052
                                              http://www.lowtherwalker.com

                                              Attorneys for Defendant
                                              Bogdana Alexandrovna Mobley


                           CERTIFICATE OF SERVICE

      I hereby certify that on January 12, 2021, I electronically filed the

foregoing NOTICE OF APPEAL with the Clerk of the United States District

Court for the District of Kansas by way of the CM/ECF system, which

automatically will serve this document on the attorneys of record for the

parties in this case by electronic mail.

                                              s/ Craig M. Divine, Esq.
                                              Craig M. Divine, Esq.
